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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

ARTURO DeLEON-REYES,                    )
     Plaintiff,                         )        No. 18 C 1028
     v.                                 )
REYNALDO GUEVARA, et al.,               )        Hon. Steven C. Seeger
     Defendants.                        )        Hon. Sunil R. Harjani

GABRIEL SOLACHE,                        )
      Plaintiff,                        )        No. 18 C 2312
      v.                                )
CITY OF CHICAGO, et al.,                )        Hon. Steven C. Seeger
      Defendants.                       )        Hon. Sunil R. Harjani

ARIEL GOMEZ,                            )
      Plaintiff,                        )        No. 18 C 3335
      v.                                )
REYNALDO GUEVARA, et al.                )        Hon. Charles P. Kocoras
      Defendants.                       )

RICARDO RODRIGUEZ,                      )
     Plaintiff,                         )        No. 18 C 7951
     v.                                 )
REYNALDO GUEVARA, et al.                )        Hon. Mary M. Rowland
     Defendants.                        )        Hon. Susan E. Cox

RICARDO BOUTO,                          )
     Plaintiff,                         )        No. 19 C 2441
     v.                                 )
REYNALDO GUEVARA, et al.                )        Hon. John F. Kness
     Defendants.                        )        Hon. Susan E. Cox

GERALDO IGLESIAS,                       )
     Plaintiff,                         )        No. 19 C 6508
     v.                                 )
REYNALDO GUEVARA, et al.                )        Hon. Franklin U. Valderrama
     Defendants.                        )        Hon. Maria Valdez

DEMETRIUS JOHNSON,                      )
     Plaintiff,                         )        No. 20 C 4156
     v.                                 )
REYNALDO GUEVARA, et al.                )        Hon. Sara L. Ellis
     Defendants.                        )        Hon. Heather K. McShain
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       PLAINTIFFS’ AMENDED CONSOLIDATED RESPONSE IN OPPOSITION
        TO THE CITY OF CHICAGO’S MOTION FOR A PROTECTIVE ORDER

       Plaintiffs ARTURO DeLEON-REYES, GABRIEL SOLACHE, THOMAS SIERRA,

ARIEL GOMEZ, RICARDO RODRIGUEZ, RICARDO BOUTO, GERALDO IGLESIAS, and

DEMETRIUS JOHNSON, by their undersigned attorneys, respectfully submit this consolidated

response in opposition to the City of Chicago’s motion for a protective order, stating as follows:

                                         INTRODUCTION

       In nine civil cases concerning wrongful convictions caused by the misconduct of

Reynaldo Guevara and other Chicago Police officers, the City of Chicago has filed a

consolidated motion for a protective order to block Monell discovery from third parties that is

essential to establishing the City’s practice of suppressing exculpatory evidence gathered in

homicide investigations. Reyes v. Guevara, No. 18 C 1028, Dkt. 503 (Seeger & Harjani,

JJ.); Solache v. Guevara, No. 18 C 2312, Dkt. 355 (Seeger & Harjani, JJ.); Maysonet v. Guevara,

No. 18 C 2342, Dkt. 199 (Rowland, J.); Sierra v. Guevara, No. 18 C 3029, Dkt. 332 (Lee &

Weisman, JJ.); Gomez v. Guevara, No. 18 C 3335, Dkt. 136 (Kocoras, J.); Rodriguez v. Guevara,

No. 18 C 7951, Dkt. 159 (Rowland Cox, JJ.); Bouto v. Guevara, No. 19 C 2441,

Dkt. 252 (Kness & Cox, JJ.); Iglesias v. Guevara, No. 19 C 6508, Dkt. 149 (Valderrama &

Valdez, JJ.); Johnson v. Guevara, No. 20 C 4156, Dkt. 105 (Ellis & McShain, JJ.).

       The City’s motion has already been denied in Sierra, No. 18 C 3029, Dkt. 332, in which

Judge Weisman explained:

       (1) the motion is premised in large part on the burden Monell discovery will impose on third
       parties who can assert or have asserted their burden objections in motions to quash; (2) this Court
       cannot modify or set aside the district court’s order denying bifurcation of the Monell claims; and
       (3) production of a random sample of files would greatly reduce the time and expense associated
       with Monell discovery, but the City refuses to stipulate that such a sample is representative of all
       files for purposes of litigating the Monell claims.

This consolidated response is being filed in the remaining Guevara cases, except for Maysonet.


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       The burden that the City now complains of in support of its motion is a burden of its own

making. The plaintiffs in the Guevara cases have consistently urged the City to take a

cooperative approach to Monell discovery that would reduce burden on the parties and limit the

need for third-party discovery, and the plaintiffs continue to urge such an approach. The City

repeatedly has refused to enter a stipulation to that effect. The plaintiffs during court hearings on

the City’s motion have proposed other solutions to limit the need for third-party document

discovery. So far the City has not embraced those either. Moreover, the City’s arguments have

already been rejected repeatedly in the Guevara cases, and the City should not get a second,

third, or fourth bite of the apple. This Court should deny the motion.

                                          DISCUSSION

       The plaintiffs in the Guevara cases collectively have suffered centuries of wrongful

incarceration as the result of brazen and criminal misconduct by Chicago Police officers,

including Detective Reynaldo Guevara. Instead of making amends to these men, the City of

Chicago has ligated their civil cases to the maximum extent possible, resisting discovery at every

turn and filing every possible motion. Public records reflect that the City pays more than

$250,000 a month to private lawyers to defend these cases. And to what end? The four Guevara

civil cases that have previously been resolved at trial or by settlement have required the City to

pay more than $60 million. These are extraordinarily meritorious civil rights cases.

       The City of Chicago focuses much of its litigation energy on preventing discovery into a

common thread that connects the Guevara cases: the policies and practices of the Chicago Police

Department. Among other things, these policies and practices led to the systemic misconduct

committed by Guevara and his colleagues, the widespread suppression of evidence developed

during criminal investigations, and the physical and psychological abuse of criminal suspects and




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witnesses. The City would like nothing more than to sit out these cases, pretending that these

were isolated constitutional violations visited upon Chicagoans. But they were not. They are all

part of a decades-long policy scandal engulfing the Chicago Police Department.

       The City’s current motion is far from its first attempt to halt Monell discovery in the

Guevara cases. On the contrary, it has engaged in protracted litigation at every stage of these

cases in an effort to avoid municipal accountability and to halt discovery into its policies and

practices. In these cases, it has lost a whopping 16 motions to bifurcate Monell discovery,

motions to compel Monell discovery and the production of relevant documents, and Rule 72

objections to those decisions. Reyes, No. 18 C 1028 (consolidated with Solache), Dkts. 163, 166,

174 (denying bifurcation of Monell claims), Dkts. 184, 185, 195, 211, 212, 224 (granting motion

to compel Monell discovery), Dkts. 231, 266, 280, 384 (rejecting Rule 72 appeal of motion to

compel ruling); Sierra, No. 18 C 3029, Dkts. 56, 57, 84 (denying bifurcation of Monell claims),

Dkts. 138, 140, 147, 154 (granting motion to compel Monell discovery); Gomez, No. 18 C 3335,

Dkts. 53, 56, 58, 62, 65 (denying bifurcation of Monell claims), Dkts. 102-1, 105, 104, 110, 113,

129 (denying bifurcation of Monell claims a second time), Dkts. 100, 106, 109, 110, 129

(granting motion to compel Monell discovery); Rodriguez, No. 18 C 7951, Dkts. 44, 45, 49, 51

(denying bifurcation of Monell claims), Dkts. 54, 61, 62-1, 68 (rejecting Rule 72 appeal of

motion to compel ruling); Bouto, No. 19 C 2441, Dkts. 83, 85, 105 (denying bifurcation of

Monell claims), Dkts. 126, 142, 153 (granting motion to compel Monell discovery); Dkts. 162,

180, 257 (rejecting Rule 72 appeal of motion to compel ruling); Iglesias, No. 19 C 6508, Dkts.

80, 82-1, 131 (denying bifurcation of Monell claims); Johnson, No. 20 C 4156, Dkts. 49, 52, 77

(denying bifurcation of Monell claims); Dkt. 77 (requiring the City to produced Monell

discovery). The City has filed the same motions in every case—despite that its losing position




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plainly lacks merit—and sometimes twice in the same case. It has self-helped itself to stays of

discovery while motions are pending or by stonewalling the plaintiffs. It has rejected all efforts

to compromise and all proposals designed to limit Monell discovery by stipulation. And in so

doing, the City has imposed a cost to Monell discovery that far exceeds the evidence it has been

asked to provide.

       The City has chosen that approach despite the fact that the Chicago Police Department’s

practice of evidence suppression in criminal investigations is well established. In the mid-1980s,

the City admitted in litigation in this District that it had a problem of systematically suppressing

evidence. Palmer v. City of Chicago, 562 F. Supp. 1067 (N.D. Ill. 1983); Palmer v. City of

Chicago, 806 F.2d 1316 (7th Cir. 1986); see also Jones v. City of Chicago, 856 F.2d 985, 988

(7th Cir. 1988). Multiple federal juries have recently concluded—evaluating exactly the same

theories and the same types of evidence at issue here—that the City’s evidence-suppression

practice continued from the mid-1980s until at least the late 2000s. The Seventh Circuit and

district courts have upheld those verdicts. Rivera v. Guevara, 12 C 4428, Dkt. 678 (N.D. Ill.

Aug. 3, 2018); Fields v. City of Chicago, 2017 WL 4553411, at *3-4 (N.D. Ill. Oct. 12, 2017);

Fields v. City of Chicago, 2020 WL 6817489, at *16-18 (7th Cir. Nov. 20, 2020). And the City’s

own inspector general concluded just last week that the Chicago Police Department’s file

maintenance problems continue to this day, risking continued constitutional violations. See

Office of Inspector General, City of Chicago, OIG Follow-up Finds That the Chicago Police

Department Is Still Unable to Ensure That It Can Meet Its Legal and Constitutional Obligations

with Respect to the Management and Production of Records, available at

https://igchicago.org/2021/09/16/oig-follow-up-finds-that-the-chicago-police-department-is-still-

unable-to-ensure-that-it-can-meet-its-legal-and-constitutional-obligations-with-respect-to-the-




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management-and-production-of-records/ (September 16, 2021). The Monell claims advanced in

the Guevara cases have been thoroughly tested. They are extraordinarily meritorious.

Nonetheless, the City spares no expense in its effort to stop the discovery of highly relevant

evidence of its practices.

       The fact that judges in all Guevara cases have denied the City’s motions to bifurcate

Monell discovery is reason enough to deny the City’s motion for a protective order. The City

cannot avoid by protective order discovery into claims on which it tried and failed to have

discovery bifurcated and stayed. The fact that judges in six of the Guevara cases have already

ordered the City to produce files in Monell discovery, ruling that those files were relevant and

proportional to the litigation, is an independent reason to deny the City’s motion. The fact that

the City’s production of those files is nearly complete, provides yet another independent and

equally sufficient reason to deny the City’s motion for a protective order. The fact that the City’s

motion asks for a second, third, or in some cases fourth chance to relitigate issues already

resolved in these cases is another compelling reason to reject the City’s motion.

       But the City’s motion for a protective order represents an even more bizarre extension of

its scorched-earth strategy to avoid Monell litigation. Not only is the City asking to relitigate

issues already resolved, after it has completed its own production, but it is asking to halt Monell

discovery as it concludes, citing the burden not to itself but to third parties—the Cook County

Public Defender and the Cook County State’s Attorney’s Office. But those third parties can and

are representing their own interests in the Guevara cases, filing motions to quash subpoenas in

Reyes/Solache and Sierra, which have already been litigated extensively. Reyes, No. 18 C 1028,

Dkts. 424, 430, 455, 468, 471, 472, 476, 480, 485; Sierra, No. 18 C 3029, Dkts. 287, 310, 333.

The appropriate scope of document discovery from third parties should be litigated that way, not




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by granting the City a blanket protective order in multiple cases halting Monell discovery after

the litigation and document productions are nearly complete. The City cannot obtain a protective

order to stop Monell discovery by citing the litigation interests of third parties.

        Moreover, and critically, the City has created the burden of the document discovery that

it says justifies its motion—it has repeatedly refused to stipulate to the use of a smaller sample of

files as evidence of its policies and practices, preferring instead to litigate the scope of discovery

and require the production and analysis of hundreds of thousands of pages of files at great

expense. This was not always the case; in prior years, the City agreed to such cooperative

stipulations regarding Monell discovery. See, e.g., Stipulation, Rivera v. Guevara et al., No. 12 C

4428 (N.D. Ill.), Dkt. 313-88.

        The plaintiffs in the Guevara cases have repeatedly proposed that a limited subset of case

files be used as proof of the City’s policies and practices. Such a limitation on discovery is

immediately possible if the City would only stipulate that a random sample of files is

representative of its policies and practices for a relevant time period. But the City has refused. Its

explanation why, given to the plaintiffs and to judges, is less than robust: the City claims that it

cannot understand the plaintiffs’ Monell theories or how the files will be used as evidence. It

takes this head-in-the-sand position despite exhaustive explanations in multiple civil cases, court

filings, expert opinions, judicial opinions, and two completed jury trials with precisely this sort

of proof. 1



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  Substantively, the City’s refusal to stipulate is particularly egregious given that that there are absolutely
no differences in the City’s file keeping and disclosure policies or practices between the late 1980s and
the early 2000s. Indeed, the City’s designated 30(b)(6) deponents on the topic have made that clear. See
Exhibit A, Loughran testimony in Fields at 11-12 (“Q Looking at the ‘Investigative Files’ order, this
Special Order, which is dated May 29, 1986, this order was still in effect in 2009? A Yes, ma'am. Q Were
there any amendments to this order over that time period? A Not that I'm aware of.”); Exhibit B, Hickey
testimony in Rivera, at 153 (“Q. In that period of time [between 2000 and 2005] did the unit to the best of


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        Most recently, the City reached out to the plaintiffs, asking if they would discuss a global

limitation on Monell discovery in the Guevara cases. The plaintiffs responded that they would

happily engage in such a discussion. But instead of beginning the discussion (as required by Rule

37.2), the City filed its motion for a protective order without responding at all. Still, the plaintiffs

have continued to press their efforts to secure a stipulation from the City that will limit the

Monell discovery necessary from third-parties. On September 21, 2021, the plaintiffs proposed

the following limitation on Monell discovery in all of the Guevara cases (except Maysonet):

        (1) That the plaintiffs and the City would agree to limit their subpoenas to the third-party

            Cook County Public Defender and the Cook County State’s Attorney’s Office,

            respectively, to the random sample of case files already ordered produced by Judge

            Harjani in Reyes and Solache;

        (2) That the plaintiffs and the City would agree that any Monell discovery in any Guevara

            case requiring a comparison between the Chicago Police Department’s homicide files

            and the Public Defender’s and/or State’s Attorney’s case files would be based on the

            set of files produced in Reyes and Solache; and

        (3) That the plaintiffs and the City would stipulate that the set of files produced in Reyes

            and Solache were representative of the City of Chicago’s and the Chicago Police

            Department’s policies and practices for the relevant time period in each of the

            Guevara cases.

The City has not yet responded to the proposal. It has been discussed briefly during a hearing in

Reyes/Solache. The City cannot obtain a protective order preventing essential Monell discovery

by insisting that the plaintiffs prove a widespread practice over a period of decades, by citing the


your information function any differently than it did in the 1980's? A. I don't know how it could have.”),
157-58.


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burden created by discovering files across that time period, and by refusing to stipulate to using a

much more manageable set of randomly selected files. While a court cannot force a party to

stipulate, it can deny a motion for a protective order when the need for the discovery at issue is

created by the party’s litigation position. Relatedly, the plaintiffs in the Guevara cases are not

seeking any Cook County State’s Attorney’s files in the first place, and so the City’s motion for a

protective order is aimed in that respect at discovery that the City itself is seeking. The City’s

refusal to stipulate has created the burden the parties and third-parties now face, and that is yet

another reason to deny the City’s motion.

        Meanwhile, the Guevara plaintiffs have continued to seek creative solutions to prevent

burden to third parties and to conduct Monell discovery in as streamlined a fashion as possible.

At a hearing on September 24 before Judge Harjani in Reyes/Solache, plaintiffs proposed that, if

the City continued to refuse a reasonable stipulation, the court supervising the Guevara cases

could simply order the parties in all of those cases to rely on the sample of the CCPD and

CCSAO files ordered produced in Reyes/Solache. In Reyes/Solache, the CCPD file production is

nearly complete (the files have been scanned and are being reviewed for privilege); and the

CCSAO production will be completed by the end of the year. An order in the Guevara cases that

these files should be used for purposes of the Monell theories that depend upon third-party files

would eliminate the need to litigate the issue in these cases and would limit the burden of third-

party discovery to what has already been ordered produced. 2 This streamlined approach would


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  Cook County Public Defender files and Cook County State’s Attorney’s Office files were also produced
in Fields and Rivera, and were the subject of comprehensive expert analyses and disclosures. Much of the
expert opinions and analyses in those cases, including the detailed comparison of homicide files to
criminal defense attorney and prosecutor files, was introduced as trial exhibits and are part of the public
record. Simply ordering the parties in the Guevara cases rely on the third-party file production already
ordered and nearly produced in Reyes/Solache (Area 5, from 1995-1998) will allow the Guevara plaintiffs
to use those files, the Rivera files (Area 5, from 1985-1991) and the Fields files (Area 1, 1983-1989 ) to
prove their Monell claims.


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dramatically reduce the burden on third-parties, even without the City’s stipulation to this

sensible procedure, and Plaintiffs would not resist such an order.

       The City’s remaining arguments for a protective order simply parrot arguments that the

City has made in earlier litigation about bifurcation and the scope of Monell discovery. The City

argues that the parties should engage in two rounds of discovery and two rounds of motions for

summary judgment, starting with the cases against the individual Defendants and moving on

later to the cases against the City. But this is nothing more than an argument for reconsideration

of prior orders denying bifurcation, repackaged as a motion for a protective order. As explained

in earlier briefing, the City’s proposal would expand the litigation required, doubling it, instead

of bringing the litigation promptly to a close.

       Next, the City argues briefly in bullet points that there is nothing in the record of any of

the Guevara cases to suggest that evidence was suppressed. Again, this repackages an argument

made repeatedly in earlier motion practice on Monell discovery, and an argument the City made

unsuccessfully all the way through trial in Fields and Rivera; most recently lost at summary

judgment in Montanez v. Guevara et al., No. 1:17-4560 (N.D. Ill.), Dkt. 261 at 46-48; and has

never prevailed on in a Guevara case litigated by plaintiffs’ counsel. The City’s argument is also

not true. Consider for example the suppression at issue in Johnson, in which the plaintiff never

received a police report in his criminal case that documented that an eyewitness had selected an

alternate suspect in a lineup. The exculpatory police lineup report was indisputably concealed

from the criminal defendant and his counsel: that typed police report is not in the Chicago Police

Department’s permanent retention file (where all typed police reports are required to be stored),

and it is not contained in the Cook County State’s Attorney file. Instead, what is found in the

Department’s permanent retention file and the prosecutor’s file is a different police report stating




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the exact opposite of the exculpatory report: that the eyewitness had not selected the alternate

suspect. 3 Despite this, the City argues that there was no suppression in that case at all and so the

Monell claim “is therefore meritless as a matter of law.” What?

        After losing motions to bifurcate and being ordered to produce documents, in the midst of

discovery, without a record, the City is asking courts in nine different cases to grant summary

judgment in its favor, to find that no constitutional violation occurred as a matter of law, and to

halt Monell discovery. There is no basis in the Rules for such a request; and the City has not

developed anything close to an argument for that type of relief. And critically, although the City

asks this Court to halt all Monell discovery, its arguments are focused only on plaintiffs’ file

suppression theory. Plaintiffs are separately pursuing a Monell theory based on the failure to

train, supervise and discipline officers who engage in rampant misconduct; the CR files relevant

to that theory have all been produced, plaintiffs have not asked for additional documents from

any third party, and Plaintiffs have retained experts to analyze that data. The City has offered no

basis to halt Monell discovery in its entirety.

        Last but not least, turning back to plaintiffs’ file suppression theories, the City’s

argument about oppressive discovery from public entities is not only caused by the City’s

recalcitrant litigation position, but it also ignores entirely that the plaintiffs in the Guevara cases

have volunteered to absorb the entire cost of the document production, assisting in the

movement, scanning, and privilege review of all files. It is the incessant litigation about the

scope of Monell discovery that is taxing the courts’, the parties’, and the third-parties’ time and

resources, not the discovery itself.




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  The undisclosed exculpatory report and the disclosed report are attached as Exhibits C and D,
respectively.


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                                         CONCLUSION

       The plaintiffs’ Monell theories in the Guevara cases are robust. They have been tried

successfully in other cases. The propriety of bifurcating those claims has been litigated. The City

has been ordered to engage in Monell discovery. It has nearly completed production of its files.

The Cook County Public Defender and Cook County State’s Attorney can and have litigated the

scope of subpoenas directed to them. The plaintiffs have proposed a stipulation that would

eliminate the need for additional Monell document discovery from third-parties. The arguments

re-raised by the City in its motion have been litigated ad nauseum and resolved against the City

at every turn. There is no basis for a protective order. The City’s motion should be denied.

                                             RESPECTFULLY SUBMITTED,

/s/ Anand Swaminathan                        /s/ Jan Susler

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                                CERTIFICATE OF SERVICE

       I, Anand Swaminathan, an attorney, hereby certify that, on September 27, 2021, I filed

PLAINTIFFS’ CONSOLIDATED RESPONSE IN OPPOSITION TO THE CITY OF

CHICAGO’S MOTION FOR A PROTECTIVE ORDER using the Court’s CM/ECF system,

which effected service on all counsel of record.

                                             /s/ Anand Swaminathan
                                             One of Plaintiffs’ Attorneys




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